Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 1 of 39 PageID: 669



                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


   EVER BEDOYA, DIEGO GONZALES,
   and MANUEL DeCASTRO, on behalf
   of themselves and all others           Civil Action No:       2:14-cv-
   similarly situated,                    02811 (ES)(JAD)

                          Plaintiffs,

                     v.                            Civil Action

   AMERICAN EAGLE EXPRESS, INC.,
   d/b/a AEX GROUP,

                          Defendant.




       DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION
                    FOR JUDGEMT ON THE PLEADINGS




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Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 2 of 39 PageID: 670



                             TABLE OF CONTENTS

                                                                      PAGE

   TABLE OF AUTHORITIES ......................................... iii
   INTRODUCTION ................................................... 1
   SUMMARY OF FACTS IN THE PLEADINGS .............................. 2
   ARGUMENT ....................................................... 3
   I. ............................................................. 3
               STANDARD FOR JUDGMENT ON THE PLEADINGS. .............. 3
   II. ............................................................ 5
               FAAAA   PREEMPTION   MUST   BE   BROADLY
               INTERPRETED AND CAN BE DECIDED WITHOUT
               EMPIRICAL EVIDENCE ................................... 5
   III. .......................................................... 14
               THE   LOGICAL,    POTENTIAL    IMPACT  OF
               ADOPTING THE ABC TEST WILL NO DOUBT BE
               MORE    THAN    REMOTE,     TENUOUS   AND
               PERIPHERAL .......................................... 14
               A.    The ABC Test Is The Most Employer-
                     Restrictive    Test,    Encompassing
                     Individuals Properly Classified As
                     Independent     Contractors    Under
                     Federal Law .................................... 14
               B.    Count   I    And    Count    II   Of
                     Plaintiff’s      Complaint       Are
                     Preempted By FAAAA Because The
                     Potential    Impact    On    Prices,
                     Routes,     And      Services     Is
                     Significant .................................... 22
               C.    Count III Of Plaintiffs’ Complaint
                     Is Also Preempted By FAAAA ..................... 32


   IV. ........................................................... 34


               CONCLUSION .......................................... 24




                                       i
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 3 of 39 PageID: 671



                           TABLE OF AUTHORITIES

                                                                        Page(s)
   CASES

   Bower v. Egyptair Airlines Co.,
     731 F. 3d 85 (1st Cir. 2013) ............................ 25, 34

   Brown v. United Air Lines, Inc.,
     656 F. Supp. 2d 244 (D. Mass. 2009)......................... 10

   Brown v. United Airlines, Inc.,
     720 F. 3d 60 (1st Cir 2013), cert. denied, 134 S. Ct.
     1787 (2014)......................................... 25, 27, 33

   Carpet Remnant Warehouse, Inc. v. N.J. Dep’t of Labor,
     125 N.J. 567 (1991)......................................... 17

   Dan’s City Used Cars v. Pelkey,
     133 S. Ct. 1769 (2013)....................................... 7

   DiFiore v. American Airlines,
     646 F.3d 81 (1st Cir. 2011), cert. denied, 132 S.
     Ct. 761 (2011)....................................... 6, 25, 27

   Dilts v. Penske Logistics,
     769 F.3d 637 (9th Cir. 2014) ................................ 13

   Hargrove v. Sleepy’s, L.L.C.,
     220 N.J. 289 (N.J. 2015)................................ passim

   Huntington Operating Corp v. Sybonney Express, Inc.,
     No. H-08-781, 2010 U.S. Dist. LEXIS 55591 (S.D.
     Tex., May 11, 2010)......................................... 25

   Marx Companies LLC v. Western Trans Logistics,
     2015 U.S. Dist. LEXIS 6432 (D.N.J. January 21, 2015)..........
     ..................................................... 9, 27, 34

   Massachusetts Delivery Association (“MDA”) v. Coakley,
     769 F.3d 11 (1st Cir. 2014) ............................. passim

   Massachusetts Delivery Association v. Coakley,
     No. 10-cv-11521, 2015 U.S. Dist. LEXIS 88537 (July
     8, 2015)............................................ 24, 27, 30

   Morales v. Trans World Airlines,
     504 U.S. 374 (1992)..................................... passim


                                      ii
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 4 of 39 PageID: 672



   Morse v. Lower Merion Sch. Dist.,
     132 F.3d 902 (3d Cir. 1997).................................. 4

   N.J. Carpenters & The Trustees Thereof v. Tishman
     Constr. Corp. of N.J.,
     760 F.3d 297 (3d Cir. 2014).................................. 4

   Nationwide Freight Sys., Inc. v. Ill. Commerce Comm’n,
     784 F.3d 367 (7th Cir. 2015) ............................ 11, 12

   Non Typical, Inc. v. Transglobal Logistics Group Inc.,
     No. 10-C-1058, 2012 U.S. Dist. LEXIS 73452 (E.D.
     Wis. May 24, 2012).......................................... 25

   Northwest v. Ginsberg,
     134 S. Ct. 1422 (2014)........................... 8, 10, 24, 33

   Overka v. American Airlines, Inc.,
     790 F.3d 36 (1st Cir. 2015) .............................. 9, 27

   Remington v. J.B. Hunt,
     No. 15-100100RGS, 2015 U.S. Dist. LEXIS 13825 (D.
     Mass. February 5, 2015).................................. 9, 26

   Rowe v. New Hampshire Motor Transport Ass’n,
     552 U.S. 364 (2008)..................................... passim

   Sanchez v. Lasership,
     937 F. Supp. 2d 730 (E.D. Va. 2013)..................... 14, 26

   Schwann v. FedEx Ground Package System, Inc.,
     No. 11-11094-RGS, 2015 U.S. Dist. LEXIS 13826............... 26

   Thompson v. Real Estate Mortgage Network, Inc.,No.
     2:11-1494, 2015 U.S. Dist. LEXIS 67186, (D.N.J. May
     22, 2015).................................................... 3

   Tobin v. Federal Express,
     775 F.3d 448 (1st Cir. 2014) .................... 27, 30, 32, 33

   Travel All Over the World, Inc. v. Kingdom of Saudi
     Arabia,
     73 F.3d 1423 (7th Cir. 1996) ................................ 25

   Travers v. JetBlue Airways Corp.,
     No. 08-10730, 2009 U.S. Dist. LEXIS 63699 (D. Mass.
     July 23, 2009).............................................. 10




                                     iii
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 5 of 39 PageID: 673



   Turbe v. Gov't of Virgin Islands,
     938 F.2d 427 (3d Cir. 1991).................................. 4

   Vlandis v. Kline,
     412 U.S. 441 (1973)......................................... 31

   Williams v. Midwest Airlines, Inc.,
     321 F. Supp. 2d 993 (E.D. Wis. 2004)........................ 26

   Witty v. Delta Air Lines, Inc.,
     366 F.3d 380 (5th Cir. 2004)................................ 10

   Yellow Transportation, Inc. v. DM Transportation
     Management Services,
     No. Civ. A. 2:06-c-1517, 2006 US Dist. LEXIS 51231
     (E.D. Pa, July 14, 2006).................................... 26

   STATUTES

   Federal Aviation Administration Authorization Act of
     1994 (“FAAAA”), 49 U.S.C. § 14501....................... passim

   N.J.S.A. § 34:11-4.2 ......................................... 23

   N.J.S.A. § 34:11-4.4 ......................................... 23

   N.J.S.A. § 34:11-56(a)(4) ..................................... 23

   N.J.S.A. § 43:21-19(i)(6) ..................................... 17

   OTHER AUTHORITIES

   49 C.F.R. § 376.12 ............................................ 31

   Charles Toutant, NJ's Definition of 'Employee' Revives
     Sleepy's Class Suit, NEW JERSEY LAW JOURNAL, May 13,
     2015.................................................... 21, 22

   Department of Labor Administrator’s Interpretation No.
     2015-1 (July 15, 2015).................................. 19, 20

   Fed. R. Civ. P. 12(c) .......................................... 3

   H.R. Conf. Rep. No. 103-677 (1994), reprinted in 1994
     U.S.C.C.A.N. 1715............................................ 6

   Rule 12(b)(6) .................................................. 4




                                      iv
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 6 of 39 PageID: 674




          Defendant American Eagle Express, Inc. (“AEX”) files

   this    Memorandum    of    Law      in       Support    of    its    Motion      for

   Judgment on the Pleadings, and in support thereof states as

   follows.

                                   INTRODUCTION

          Defendant   AEX     is   an   entity       covered      by     the    Federal

   Aviation      Administration          Authorization            Act      of        1994

   (“FAAAA”).       Plaintiffs’         lawsuit       is    the    fourth       lawsuit

   against     Defendant       AEX      alleging           misclassification           of

   independent     contractors.              The    plaintiffs      in         previous

   actions were represented by the same counsel as                              in    the

   current Action. In all these lawsuits, Plaintiffs’ counsel

   sought to represent a class of individuals claiming to be

   misclassified Independent Contractors (“ICs”) utilized by

   AEX and its shipper-customers to provide courier delivery

   services. Plaintiffs here contend they are employees under

   the New Jersey Wage and Hour Law (“WHL”) and the New Jersey

   Wage Payment Law (“WPL”).                 Plaintiffs do not assert any

   federal wage and hour claims in this Action.

          On January 14, 2015 in Hargrove v. Sleepy’s, L.L.C.,

   220 N.J. 289       (N.J. 2015),           the New Jersey Supreme Court

   adopted the ABC test – the most pro-employee, employer-

   restrictive test possible – as the standard for determining


                                             1
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 7 of 39 PageID: 675



   employee     status    under   New    Jersey’s      WHL   and    WPL.   It     is

   axiomatic    that     the   logical     and    potential    impact      of    the

   restrictive ABC test on the rates, routes, and services of

   AEX, its shippers, and the ICs, is significant.                    This fact

   was   made    clear    by   the   New      Jersey    Supreme     Court,       the

   plaintiffs’ arguments urging adoption of the ABC test, and

   even public statements by Plaintiffs’ counsel made after

   the     Sleepy’s      decision       was      issued.           Under    these

   circumstances,      Plaintiffs’ Complaint is preempted by the

   FAAAA.

                   SUMMARY OF FACTS IN THE PLEADINGS1

         AEX is a logistics company referred to by Plaintiffs

   as a “regional package delivery company” that arranges                        for

   courier delivery services to a variety of customers such as

   hospitals,     pharmaceutical        companies,     and    pharmacies.        See

   Plaintiffs’ Complaint (“Compl.”), ¶ 7. 2 AEX is headquartered

   in Aston, Pennsylvania and coordinates delivery services

   throughout     several      Mid-Atlantic        States,     including        New

   Jersey.      Compl. ¶¶ 7, 9, 10.              Plaintiffs are owners and

   operators      of     independent       third-party        companies         that

   1
     AEX accepts Plaintiffs’ allegations as true solely for
   purposes of this motion in accordance with the standard for
   a Motion for Judgment on the Pleadings.    AEX reserves all
   arguments with regard to the merits of the factual
   allegations.
   2
     Plaintiffs’ Complaint is attached as Exhibit 1 to the
   Certification of Saranne E. Weimer, Esq. (“Weimer Cert.”)

                                         2
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 8 of 39 PageID: 676



   contract     with       AEX   as    independent        contractors        to    provide

   delivery         services     for     AEX’s       customer-shippers            in    and

   outside of New Jersey.               Compl. ¶¶ 3-5, 16, 17; Third Party
                                                                         3
   Complaint        (“3P    Compl.”)      ¶¶       5-9;    Exs.   A-C.                 These

   independent business entities each entered a Transportation

   Broker Agreement (“TBA”) that acknowledges the independent

   contractor status of the contracting entity and governs the

   entity’s relationship with AEX.                        Compl. ¶ 16; Exs. A-C.

   Each of the named Plaintiffs executed a TBA on behalf of

   his      respective      entity.        3P      Compl.    ¶¶   5-9;       Exs.      A-C.

   Plaintiffs claim that “although they are characterized as

   independent contractors, Plaintiffs and the class they seek

   to represent are employees under New Jersey law.” Compl. ¶

   21.

                                         ARGUMENT

       I.     Standard for Judgment on the Pleadings

       Courts review a Fed. R. Civ. P. 12(c) Motion for Judgment

   on the Pleadings under the same standard as a 12(b)(6)

   Motion      to     Dismiss.        Thompson       v.    Real   Estate          Mortgage

   Network, Inc., No. 2:11-1494, 2015 U.S. Dist. LEXIS 67186,

   at 4-5 (D.N.J. May 22, 2015) (“A 12(b)(6) and 12(c) motion

   are almost identical, except that a 12(c) motion is made

   3
     Defendant’s Third Party Complaint is attached as Exhibit 2
   to the Weimer Cert.


                                               3
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 9 of 39 PageID: 677



   after filing of a responsive pleading.”). Therefore, the

   familiar Rule 12(b)(6) standard applies on a 12(c) motion

   to dismiss.          Turbe v. Gov't of Virgin Islands, 938 F.2d

   427,     428   (3d    Cir.       1991).        Under     this     standard,      the

   defendant, as the moving party, bears the burden of showing

   that no claim has been stated. Animal Science Products,

   Inc. v. China Minmetals Corp., 654 F.3d 462, 469 n.9 (3d

   Cir. 2011). For the purposes of a motion for judgment on

   the    pleadings,         the    defendant      must     accept     all     factual

   allegations in the complaint as true and all reasonable

   inferences are drawn in favor of the plaintiffs.                                N.J.

   Carpenters & The Trustees Thereof v. Tishman Constr. Corp.

   of N.J., 760 F.3d 297, 302 (3d Cir. 2014).                          However, “the

   court is not bound to accept as true a legal conclusion

   couched as a factual allegation.” Morse v. Lower Merion

   Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997).

          Here,      Plaintiffs         set        forth     disputed          factual

   allegations which must be analyzed under the standard set

   forth in the newly adopted ABC test. Logic dictates that

   the    adoption      of    the   stricter      ABC     test   has    a    potential

   impact    on   rates,       routes   or       services    that    is     more   than

   simply “remote, tenuous or peripheral.”                       Thus, Plaintiffs’

   claims are preempted by the Federal Aviation Administration

   Authorization Act of 1994, (“FAAAA”), 49 U.S.C. § 14501.


                                             4
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 10 of 39 PageID: 678



    As explained below, this determination can be made now, as

    a threshold matter of law, without the need for discovery

    or empirical evidence.

         II.   FAAAA Preemption Must Be Broadly Interpreted And Can
               Be Decided Without Empirical Evidence.

           The FAAAA provides:

           General rule — Except as provided in paragraphs
           (2) and (3), 4 a State, political subdivision of a
           State, or political authority of 2 or more States
           may not enact or enforce a law, regulation, or
           other provision having the force and effect of
           law related to a price, route, or service of any
           motor carrier… or any motor private carrier,
           broker, or freight forwarder with respect to the
           transportation of property.

    49 U.S.C., 14501(c)(1) (emphasis added).

           Congress’ overarching goal in enacting the FAAAA was

    to ensure that transportation rates, routes, and services

    reflect     “maximum   reliance      on    competitive    market    forces”

    thereby       stimulating    “efficiency,        innovation        and   low

    prices,” as well as “variety” and “quality.” Rowe v. New

    Hampshire Motor Transport Ass’n, 552 U.S. 364, 370 (2008)

    (citing Morales v. Trans World Airlines, 504 U.S. 374, 378

    (1992)).      Prior to the FAAAA, non-uniform state regulation

    of    motor    carriers     caused        “significant    inefficiencies,

    increased costs, reduction of competition, inhibition of

    innovation      and    technology,         and   had     curtail[ed]     the

    4
        Paragraphs 2 and 3 are inapplicable here.


                                          5
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 11 of 39 PageID: 679



    expansion of markets.”          H.R. Conf. Rep. No. 103-677, at 86-

    88 (1994), reprinted in 1994 U.S.C.C.A.N. 1715, 1758-60.

    Significantly,     the        preemption     provision      of     the       FAAAA

    mirrors the preemption provision deregulating air carriers

    under the Airline Deregulation Act (“ADA”).                        This is a

    clear manifestation of Congress’ intent to incorporate into

    the FAAAA the “broad preemption interpretation” of the ADA

    as announced by the United States Supreme Court in Morales,

    504 U.S. at 383, and to “even the playing field” between

    air    carriers    and       motor     carriers.      Id.    at        85,    1994

    U.S.C.C.A.N. at 1757, 1759; see also Massachusetts Delivery

    Association (“MDA”) v. Coakley, 769 F.3d 11 (1st Cir. 2014).

    For this reason, cases addressing preemption under the ADA

    and FAAAA are often cited interchangeably. See e.g. DiFiore

    v. American Airlines, 646 F.3d 81, 86 n.4 (1st Cir. 2011),

    cert. denied, 132 S. Ct. 761 (2011).

           To trigger preemption under the FAAAA, a state law

    must   “relate    to”    a    price,    route   or   service      of    a    motor

    carrier or broker “with respect to the transportation of

    property.”    49 U.S.C. 14501(c)(1). As discussed above, this

    “related to” language was taken expressly from the ADA to




                                            6
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 12 of 39 PageID: 680



    incorporate      the        broad    interpretation          standard      already

    established by the Supreme Court in Morales.5

          In     Rowe,    the    Supreme       Court    analyzed      the    scope    of

    claims implicating FAAAA preemption.                        The Court observed

    the wide range of possible claims to fall within the scope

    of FAAAA preemption:

          (1) that “[s]tate enforcement actions having a
          connection with, or reference to” carrier “rates,
          routes, or services’ are pre-empted…”; (2) that
          preemption may occur even if a state law’s effect
          on rates, routes or services “is only indirect…”;
          (3) that in respect to pre-emption, it makes no
          difference whether a state law is “consistent” or
          “inconsistent” with federal regulation …; and (4)
          that preemption occurs at least where state laws
          have a “significant impact” related to Congress’
          deregulatory and pre-emption related objectives…

    Rowe,   552    U.S.    at     370    (emphasis         in   original),     quoting

    Morales, 504 U.S. at 384.

          Rowe instructs that, any state law having a connection

    with,   or    reference       to,    the       carrier’s    rates,      routes,   or

    services – even if the connection or reference is indirect

    is   preempted.        This     is   true       even   if   the   state     law   is

    consistent with federal regulation. Rowe, 552 U.S. at 370.

    5
      The “with respect to the transportation of property”
    language is unique to the FAAAA.      As the First Circuit
    explained in its discussion of Dan’s City Used Cars v.
    Pelkey, 133 S. Ct. 1769 (2013), this “transportation of
    property” requirement does not mean that the law must
    “regulate” transportation of property – only that it must
    “concern” the transportation of property. MDA, 769 F.3d at
    22.


                                               7
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 13 of 39 PageID: 681



    The Supreme Court opined that allowing state regulation of

    motor carriers “could easily lead to a patchwork” or state

    laws,    which     “is   inconsistent       with    Congress’     major

    legislative effort to leave such decisions . . . to the

    competitive marketplace.” Id. at 373.          The impact on rates,

    routes, or services is sufficiently significant as long as

    it is more than “tenuous, remote or peripheral.” Morales,

    504 U.S. at 386, 390 (emphasis added).             That is, if a law

    has a “‘significant’ and adverse ‘impact’ in respect to the

    federal Act’s ability to achieve its pre-emption-related

    objectives” then the law is preempted. MDA, 769 F.3d at 18,

    citing Rowe, 552 U.S. at 371-72.            Preemption is triggered

    even if the significant impact is only potential, as long

    as the potential impact is more than “tenuous, remote, or

    peripheral.” MDA, 769 F.3d at 21, citing Rowe, 448 F.3d at

    82 n.14.

          To determine whether a           significant potential impact

    exists, courts need only to look to the logical effects of

    the state law. MDA, 769 F.3d at 21-22.             This is true for

    laws that are industry-specific           as well as    for     laws of

    general application. Id.; see also, Northwest v. Ginsberg,

    134 S. Ct. 1422 (2014) (common law claims against airline

    preempted by ADA); Rowe, 552 U.S. 364 (state law regarding

    tobacco transportation preempted by           FAAAA);   Morales, 504


                                       8
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 14 of 39 PageID: 682



    U.S. 374 (consumer fraud laws against deceptive airline-

    fare advertisements preempted by ADA); Overka v. American

    Airlines, Inc., 790 F.3d 36 (1st Cir. 2015) (ADA preempted

    airline curb-side baggage carriers statutory and common law

    wage     claims);     Marx      Companies       LLC      v.    Western        Trans

    Logistics, 2015 U.S. Dist. LEXIS 6432 (D.N.J. January 21,

    2015)    (plaintiff’s     common     law    negligence         claims    against

    freight broker preempted by FAAAA).

           Indeed,     the   majority     of       Courts     to     consider      this

    preemption    issue      have    found    that      no   empirical      evidence

    concerning the impact on prices, routes or services, is

    necessary to analyze the potential “logical effects” of the

    state law for the purpose of FAAAA preemption.                          See MDA,

    769 F.3d at 20, 21.          For this reason, the preemption issue

    is appropriate for adjudication at the pleadings stage and

    no     discovery    is   necessary       for     the     Court    to    rule     on

    preemption. Id. at 21 (“We have previously rejected the

    contention that empirical evidence is necessary to warrant

    FAAAA     preemption.”);        Remington      v.      J.B.    Hunt,    No.     15-

    100100RGS, 2015 U.S. Dist. LEXIS 13825 (D. Mass. February

    5, 2015) (deciding FAAAA preemption on motion to dismiss

    stating “Empirical evidence in this regard is not necessary

    and courts may look to the logical effect that a particular

    scheme has on the delivery of services or the setting of


                                          9
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 15 of 39 PageID: 683



    rates” (internal quotes omitted)); see also Northwest, 134

    S.    Ct.    at    1425    (using       logic   to    connect       frequent   flyer

    program       to    airline    rates       without        mention    of    empirical

    data); Morales v. Trans World Airlines, 504 U.S. 374, 388

    (1992)(finding preemption under the ADA by determining, “as

    an economic matter,” that the state regulation of false

    advertising         will   have     a    significant       forbidden       effect   on

    fares, without mention of empirical data); Witty v. Delta

    Air Lines, Inc., 366 F.3d 380, 383 (5th Cir. 2004) (using

    logic rather than data to find significant effects); Brown

    v. United Air Lines, Inc., 656 F. Supp. 2d 244, 248 (D.

    Mass. 2009)(finding ADA preemption on Motion to Dismiss);

    Travers v. JetBlue Airways Corp., No. 08-10730, 2009 U.S.

    Dist. LEXIS 63699, at *9 (D. Mass. July 23, 2009) (granting

    Motion to Dismiss based on ADA preemption).

           In a case strikingly similar to this one, the First

    Circuit recently found a basis for FAAAA preemption of the

    “B” prong of the Massachusetts ABC test.                      MDA, 769 F.3d 11.

    The    MDA     decision       is    discussed        in    more     detail     below.

    However, the First Circuit emphasized the breadth of the

    “related      to”    language,          refusing     to    accept    the     Attorney

    General’s position that “background laws” are not subject

    to    FAAAA       preemption.,          Additionally,        the    First     Circuit

    found that the ABC test “clearly concerns a motor carrier’s


                                               10
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 16 of 39 PageID: 684



    ‘transportation of property”’ because the ABC test directly

    related to the classification of the couriers providing the

    delivery services. Id. at 23.                 The Circuit Court further

    concluded the ABC test potentially has a significant impact

    on the prices, routes, or services provided by the company

    and the contractors.        Id.        The same is true in this case.

    On remand, the District Court in MDA found that “B” prong

    was   in    fact    preempted      under       the    analytical         framework

    articulated by the First Circuit.

          Although the scope of FAAAA preemption is extremely

    broad,     not   every   state     law      touching        upon    carriers   or

    freight brokers is preempted.                 State laws with effects on

    rates, routes, or services that are only “tenuous, remote,

    or peripheral” are not preempted. Rowe, 552 U.S. at 371

    (quoting    Morales,     504    U.S.     at    390).         For    example,   in

    Nationwide Freight Sys., Inc. v. Ill. Commerce Comm’n, 784

    F.3d 367 (7th Cir. 2015), three motor carriers were cited

    for operating without a license in the state of Illinois.

    The Illinois Commerce Commission (ICC), in the course of

    the subsequent investigations, requested documents from the

    carriers that showed the dates of transport, cargo carried,

    origin     and     destination      of      the      cargo,        and   revenues

    generated.         The   request    was       made    for     the    purpose   of

    determining the length of time the carrier had operated in


                                           11
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 17 of 39 PageID: 685



    the    state      without     a   license      and    whether     the    carrier

    operated with the appropriate amount of insurance.                       The ICC

    was authorized by the Illinois Commercial Transportation

    Law to make this request for information.                         The carriers

    refused to comply with the request, and were cited for

    their noncompliance with the investigation.                       The carriers

    each filed a motion to dismiss the citation, claiming the

    information request was preempted by the FAAAA because it

    was “related to” their prices, routes, or services.                             The

    Seventh      Circuit       acknowledged        that    responding        to     the

    information         request   would    have     disclosed       the     carriers’

    rates, routes, and services.                 However, the Circuit Court

    found that complying with the request for information would

    have   had     no    significant      impact    on    the   carriers’      rates,

    routes, or services.              Therefore, the connection was too

    tenuous, remote, or peripheral.                 Id. at 374-75.           This is

    obviously a different situation from the claims in this

    action, where the potential impact on the rates, routes, or

    services     of     AEX,    its   shipper-customers,        and    the    ICs    is

    substantial, as demonstrated in more detail below.

           By way of another example, in a pre-MDA decision, the

    Ninth Circuit found that the application of a state law

    requiring meal and rest breaks for employee-drivers was too

    “tenuous, remote, or peripheral” for FAAAA preemption. See


                                            12
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 18 of 39 PageID: 686



    Dilts v. Penske Logistics, 769 F.3d 637 (9th Cir. 2014).

    Among other distinctions, Dilts involved a motor carrier

    using employees to make short-haul intrastate deliveries.

    The Ninth Circuit found no preemption because the impact on

    the employer’s rates, routes, or services as a result of

    compliance     with    the      state’s    meal     and    rest      break

    requirements for      drivers    already classified as employees

    was too “tenuous, remote, or peripheral.”                  Notably, the

    concurring opinion made clear that the decision was “[o]n

    this record, and in the intrastate context.” Id. at 651

    (Zouhary,    concurring).     The   situation      presented    by     this

    lawsuit is far different from the one in Dilts.                       Here,

    Plaintiffs admit that the services they provide are not

    limited to intrastate deliveries.              Furthermore, even Dilts

    recognized that generally applicable statutes are preempted

    if they have a “forbidden connection with prices, routes,

    and   services.”      Specifically,       as    observed   in   the    MDA

    decision, the Dilts Court noted that “laws mandating motor

    carriers use (or non-use) of particular prices, routes, or

    services in order to comply with the law are preempted.”

    Dilts, 769 F.3d at 646 (emphasis added). In other words,

    when a state law regarding classification of independent

    contractors may require a company to abandon the use of Its

    preferred business model, a significant potential impact on


                                        13
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 19 of 39 PageID: 687



    prices, routes, or services is obvious. Tellingly, every

    case to address state laws governing the classification of

    workers in the regional courier service industry has found

    that the state laws are preempted by FAAAA due to the state

    law’s   significant         potential    impact   on     rates,    routes   or

    services.           See MDA, 769 F.3d 11;          Sanchez v. Lasership,

    937 F. Supp. 2d 730 (E.D. Va. 2013).

       III. The Logical, Potential Impact Of Adopting The ABC
            Test Will No Doubt Be More Than Remote, Tenuous and
            Peripheral.

           As explained further below, there can be no denying

    that    the   ABC    test    will   potentially        have   a   significant

    impact on the rates, routes or services of motor carriers

    and other employers covered by FAAAA doing business in New

    Jersey.        These     entities       could     be    using     bona   fide

    independent contractors under federal law.                    But because of

    the ABC test, the most restrictive test for determining

    contractor status, the entities are likely to restructure

    their   business      models,    adjust      prices,    change    routes,   or

    limit services.

           A. The ABC test is the most employer-restrictive test,
              encompassing individuals properly classified as
              Independent Contractors under Federal Law.

           In the form of a certified question, the Third Circuit

   Court of Appeals asked the Supreme Court of New Jersey to

   decide the correct legal standard for determining whether an


                                            14
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 20 of 39 PageID: 688



   individual is an employee or an independent contractor under

   the New Jersey Wage and Hour Law (WHL) and Wage Payment Law

   (WPL).      In     Hargrove     v.    Sleepy’s,          L.L.C.,      220   N.J.    289

   (2015), the Court gave its answer, settling on the ABC test

   — the most employer-restrictive of all proposed tests.

          The ABC test is different from the tests used under

   federal     law    to     determine     whether          an     individual     is    an

   employee or an independent contractor.                        Under the Fair Labor

   Standards Act (FLSA), the federal parallel to the New Jersey

   wage     laws     at    issue   here       –    courts        use     the   “economic

   realities”        test,     a   fact        intensive          totality      of     the

   circumstances analysis.              Sleepy’s, 220 N.J. at 311 (citing

   Donovan    v.     DialAmerica,       757       F.   2d    1376,      1382   (3d     Cir.

   1985)); see also U.S. Department of Labor, Wage and Hour

   Division,       Administrator’s        Interpretation               (“DOL   AI”)    No.

   2015-1 (July 15, 2015). 6            Where legislation does not provide

   a method of defining the employment relationship, federal

   courts use the common law right to control test. 7                          Sleepy’s,


    6
     Attached as Exhibit 4 to the Weimer Cert.
    7
      The common law “right to control” test is the narrowest of
    all of the tests.    Sleepy’s, 220 N.J. at 307-08.      This
    test focuses on the degree of control and the means of
    control to determine whether an individual's actions were
    so controlled as to render the person an employee. See Id.
    citing Cmty. for Creative Non-Violence v. Reid, 490 U.S.
    730, 751 (1989). The test is ultimately a totality-of-the-
    circumstances evaluation focusing on a number of factors
    relating to control over the individual. Id.

                                              15
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 21 of 39 PageID: 689



   220 N.J. at 308, citing Nationwide Mutual v. Darden, 503

   U.S. 318, 322-23 (1992).                In fact, the District Court in

   Sleepy’s    originally         applied    the    common   law     test   to   New

   Jersey law. 8         The New Jersey Supreme Court considered – and

   rejected – both of these tests in Sleepy’s, opting for a

   test that casts the widest possible net, resulting in the

   most individuals being classified as “employees.”

           As a result of New Jersey’s adoption of the ABC test,

   logically,       it     can    be   expected      that    some    individuals,

   classified       as     bona    fide     independent      contractors     under

   federal law, will potentially be classified as employees.

   Moreover, as discussed in more detail below, the logical,

   potential impact on carriers’ prices, routes and services as

   a result of the reclassification of these individuals will

   be more than remote, tenuous and peripheral.

           Two critical aspects of the ABC test distinguish it

   from any of the other tests which the New Jersey Supreme

   Court    could    have        chosen.     First,    the    hallmark      of   New

   Jersey’s ABC test is that it begins with a presumption that

   every    worker       classified    as    an    independent      contractor    is

   really an employee.            Second, the employer caries the burden

    8
       The District Court’s application of this test resulted in
    summary   judgment  in   favor  of   Sleepy’s   finding  the
    independent contractors were properly classified and were
    not employees under the New Jersey WPL and WHL.


                                            16
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 22 of 39 PageID: 690



   to prove it can meet each prong of the ABC test or the

   individual at issue will be an employee as a matter of New

   Jersey state law.         None of the other tests available to the

   New    Jersey    Supreme    Court      at   the   time   of    the   Sleepy’s

   decision impose the same presumption of employee status, and

   place such an affirmative burden on the presumed employer.

           In particular, to meet the ABC test, the employer must

   prove that each of the factors comprising the ABC test are

   in fact met. 9          “[T]he failure to satisfy any one of the

   three criteria results in an ‘employment’ classification.”

   Carpet Remnant Warehouse, Inc. v. N.J. Dep’t of Labor, 125

   N.J. 567, 581 (1991).        This conjunctive dimension to the ABC

   test    is     vastly   different      than   all   of   the    other   tests

   available to the New Jersey Supreme Court.                     Specifically,

   under    the    other    tests,   no    one   factor     is   determinative.


   9
     Under New Jersey’s ABC test, the presumed employer must
   prove each of the following factors to establish independent
   contractor status:
      A. Such individual has been and will continue to be free
         from control or direction over the performance of such
         service, both under his contract of service and in
         fact; and
      B. Such service is either outside the usual course of
         business for which such service is performed, or that
         such service is performed outside of all the places of
         business of the enterprise for which such service is
         performed; and
      C. Such   individual   is   customarily   engaged   in   an
         independently     established     trade,     occupation,
         profession, or business.
    See N.J.S.A. § 43:21-19(i)(6) (emphasis added).

                                          17
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 23 of 39 PageID: 691



   Rather, courts are asked to examine the totality of the

   circumstances when assessing whether an individual is an

   employee or bona fide independent contractor.

          Importantly, in adopting the ABC test, the New Jersey

    Supreme Court acknowledged that it was adopting the test

    which, compared to the FLSA economic realities test, was

    more likely to lead to the conclusion that workers would be

    considered       employees,     and     not    independent      contractors.

    Sleepy’s, 220 N.J. at 313-314.                In its analysis, the New

    Jersey   Supreme     Court     recognized       that   the   FLSA     was   the

    impetus behind the adoption of the WHL. However, the Court

    felt that this fact did not require New Jersey to follow

    the federal test to determine the set of employees covered

    by state law. Sleepy’s, 220 N.J. at 313.                     Instead, “New

    Jersey decided to take a different approach                     –   one that

    presumes a person seeking protection of the WPL or WHL is

    an employee.”       Id.   The Court observed that “the ‘ABC’ test

    operates    to    provide     more    predictability     and    may    cast   a

    wider net than FLSA ‘economic realities’ standard.” Id. at

    314 (emphasis added).          Indeed, the Supreme Court expressly

    rejected    the    FLSA     “economic       realities”   test    because      it

    utilizes a totality-of-the-circumstances framework which is

    less predictable and “may then yield a different result

    from case to case.”         Id. at 314-315.


                                           18
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 24 of 39 PageID: 692



          In fact, recently, on July 15, 2015, David Weil, the

    Administrator of the Wage and Hour Division of the United

    States     Department     of     Labor,     issued        Administrator’s

    Interpretation No. 2015-1, which addresses and explains the

    applicable    standard    for    cases    under    the    FLSA   claiming

    misclassification of employees as independent contractors.

    DOL AI No. 2015-1 (July 15, 2015). The document begins with

    a clear assertion that the “economic realities” test is the

    correct test for determining employment status under the

    FLSA.    Id. at p. 2-4.        Administrator Weil also affirms the

    “totality-of-the-circumstances”           nature     of    the   inquiry,

    stating as follows:

          In undertaking this analysis, each factor 10 is
          examined and analyzed in relation to one another,
          and no single factor is determinative.        The
          “control” factor, for example, should not be
          given undue weight.      The factors should be
          considered in totality to determine whether a
          worker is economically dependent on the employer,
          and thus an employee. The factors should not be
          applied as a checklist, but rather the outcome
          must be determined by a qualitative rather than a
          quantitative analysis.


    10
      The exact articulation of factors can vary, but generally
    the factors are as follows:    (1) the extent to which the
    work performed is an integral part of the employer’s
    business; (2) the worker’s opportunity for profit or loss
    depending on his or her managerial skill; (3) the extent of
    the relative investments of the employer and the worker;
    (4) whether the work performed requires special skills and
    initiative; (5) the permanency of the relationship; and (6)
    the degree of control exercised by the employer. See DOL AI
    2015-1.

                                       19
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 25 of 39 PageID: 693



    Id. at p.4(emphasis added).

          The differences in substance, and framework, between

    the New Jersey ABC test and the FLSA “economic realities”

    test are obvious. New Jersey has elected to apply the most

    restrictive standard available for determining independent

    contractor status.              The standard adopted presumes every one

    of AEX’s ICs are actually employees and places a heightened

    burden on AEX to prove otherwise.                     No other test does this.

    The ABC test also requires that all prongs be met – meaning

    any one factor is controlling, as opposed to considering

    the     factors      in    conjunction         with    the    totality      of     the

    circumstances. No other test operates this way.

          Even   the      plaintiffs        and    amici     in   Sleepy’s      made    it

    clear    that     the     ABC    test   was     more    restrictive      than      the

    common    law     test     and    the   economic       realities      test.      While

    urging the Court to adopt the “relative nature of the work”

    test – a hybrid test broader than the common law right-to-

    control    test      —     counsel      observed       that   “the    New     Jersey

    Department of Labor has applied a much stricter (far more

    favorable       to        the    Plaintiffs)          test    drawn     from       the

    Unemployment Compensation statute[.]”                     Brief for Plaintiff-




                                              20
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 26 of 39 PageID: 694



    Appellants at 4, Hargrove v. Sleepy’s, 220 N.J. 289 (2014)

    (No. A-70) (parentheticals in original).11

           In     the    reply      brief,   counsel     for     plaintiffs       again

    highlighted the broad scope of the test, stating “It is

    clear       that    the   ABC    test    is    a   standard      of    exceptional

    breadth and expands coverage of the wage laws beyond those

    covered at common law and would place the burden upon those

    seeking        to     avoid       application       of     the        wage   laws’

    protections.”         Reply Brief        of    Plaintiffs-Appellants         as to

    Amicus Briefs          at 4, Hargrove v. Sleepy’s,                220 N.J. 289

    (2014) (No. A-70) (emphasis added).12

           Public statements made by counsel in response to the

    Sleepy’s      decision       also   emphasize       the    significant       impact

    created by the New Jersey Supreme Court’s adoption of the

    ABC Test.           See, e.g., Charles Toutant, NJ's Definition of

    'Employee' Revives Sleepy's Class Suit, NEW JERSEY LAW JOURNAL,

    May 13, 2015, 13          (statement       by counsel for the plaintiffs

    in Sleepy’s, Harold Lichten (also plaintiffs’ counsel in

    this action), that “[b]ecause the New Jersey Supreme Court

    has adopted the ABC test and because the test is considered

    to     be    extremely        strict,     meaning     it’s       very    hard   to


    11
         Attached as Exhibit 5 to Weimer Cert.
    12
         Attached as Exhibit 6 to Weimer Cert.
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         Attached as Exhibit 7 to Weimer Cert.


                                              21
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 27 of 39 PageID: 695



    demonstrate someone is an independent contractor, we really

    believe it ’ s going to be very difficult for Sleepy ’ s to

    prevail, if not impossible. ” ) (emphasis added);                          Id. (a

    different statement attributed to Mr. Lichten’s co-counsel

    in   Sleepy’s       that        the    “ Supreme    Court   ruling    gives   the

    plaintiffs      in        the    Sleepys     case    and    other    independent

    contractor cases an easier path to victory. ” ) (emphasis

    added). Thus, the logical, potential significant impact of

    the adoption of the ABC test is universally acknowledged.

           As further illustration of the potential significant

    impact, we note that Sleepy's prevailed on its motion for

    summary judgment as a matter of law under the common law

    test    that        its     independent          contractors   were     properly

    classified as such. But under the ABC test, by counsel’s

    own words, it now is almost impossible for Sleepy ’ s to

    prevail.14

           B. Count I and Count II of Plaintiffs Complaint are
              Preempted by FAAAA because the potential impact on
              prices, routes, and services is significant.

           Count    I    of     Plaintiffs’         Complaint   alleges    statutory

    violations      of    the        New    Jersey    Wage   Payment    Law,   (WPL),


    14
       As of the date of this submission the Third Circuit has
    remanded the decision to the District Court but the
    District Court has not issued a decision on summary
    judgment.


                                               22
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 28 of 39 PageID: 696



    N.J.S.A. § 34:11-4.2 and § 34:11-4.4, stemming from the

    alleged     employee             misclassification.             Compl.     ¶¶     26-31.

    Count      II       of     Plaintiffs’       Complaint       alleges          statutory

    violations          of    the     New   Jersey    Wage    and    Hour      Law    (WHL),

    N.J.S.A.        §    34:11-56(a)(4),         also    based       upon      Plaintiffs’

    allegations of misclassification. Compl. ¶¶ 32-37.                               Each of

    these   claims           is     dependent   upon    the    outcome       of     the   New

    Jersey ABC test as applied to Plaintiffs – a test designed

    and adopted for the purpose of capturing a different class

    of individuals than the federal tests.

          As    mentioned             above,    the     First       Circuit         recently

    addressed        a       very    similar    issue    when       it   was      asked    to

    consider whether the “B” prong of the Massachusetts ABC

    test was preempted by FAAAA.                     The Circuit Court’s decision

    is instructive.               As a preliminary issue, the First Circuit

    rejected the Attorney General’s argument that “background”

    laws are not subject to FAAAA preemption, finding such a

    per se rule contrary to the purpose of FAAAA.                                 The First

    Circuit held that if enforcement of the “B” prong of the

    Massachusetts ABC test had a potential significant impact

    on the prices, routes, or services, then preemption is the

    result.         The First Circuit then remanded the case to the

    District Court to make a finding as to the real and logical

    effects of the “B” prong of the Massachusetts ABC test.


                                                23
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 29 of 39 PageID: 697



    The District Court found that application of the “B” prong

    to couriers and contractors similar to AEX and its ICs had

    a    clear    and    significant           impact    on     prices,    routes,       or

    services.         The District Court held that the “B” prong was

    preempted. Massachusetts Delivery Association v. Coakley,

    No.   10-cv-11521,        2015   U.S.        Dist.     LEXIS    88537       (July    8,

    2015). 15    The District Court looked at the real and logical

    effects      of    operating     with       employees       versus     independent

    contractors.         The court concluded that, taking a logical

    view, rates would need to be increased, routes would need

    to be adjusted, and services would be affected by the use

    employees instead of independent contractors.                         Id.

           Shortly before MDA was decided by the First Circuit,

    the United States Supreme Court highlighted the breadth of

    the   parallel      preemption        provision       when     it   found     that    a

    plaintiff’s claims against an airline for breach of the

    covenant of good faith and fair dealing stemming from the

    termination of plaintiff’s enrollment in the frequent flier

    program      was    preempted         by    the     ADA.     See    Northwest        v.

    Ginsberg,     134    S.   Ct.    1422       (2014).         This    Supreme    Court

    decision      reinforced        the        many     other    pre-MDA        decisions


    15
       Neither the district court, nor the First Circuit, was
    asked to address the “A” or “C” prongs due to the specific
    declaratory nature of the relief requested in that case.


                                                24
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 30 of 39 PageID: 698



    holding that FAAAA (and the ADA) must be read to preempt

    all state regulation with an impact on rates, routes, or

    services,      which      is    more     than          “tenuous,        remote     or

    peripheral.”      See e.g., Brown v. United Airlines, Inc., 720

    F. 3d 50 (1st Cir 2013), cert. denied, 134 S. Ct. 1787

    (2014) (skycaps’ common law claims against United Airlines

    relating to tips and wages preempted by ADA);                             Bower v.

    Egyptair     Airlines     Co.,    731        F.   3d     85    (1st    Cir.   2013)

    (plaintiff’s common law tort claims of interference with

    custodial     relations,       negligence         negligent       infliction       of

    emotional distress, and loss of consortium preempted by the

    ADA); DiFiore v. American Airlines, Inc., 646 F. 3d 81 (1st

    Cir. 2011)       (1st Cir. 2011) (ADA preempted the application

    of   the    Massachusetts        Tips    Law      to     skycaps       working    at

    Boston’s Logan Airport); Travel All Over the World, Inc. v.

    Kingdom of Saudi Arabia, 73 F.3d 1423, 1432 n.8 (7th Cir.

    1996)      (punitive      damages       are       preempted       because        they

    represent “an enlargement or enhancement [of the bargain]

    based on state laws or policies external to the agreement”

    (internal     citations        omitted));         Non        Typical,     Inc.     v.

    Transglobal Logistics Group Inc., No. 10-C-1058, 2012 U.S.

    Dist.    LEXIS   73452    (E.D.     Wis.      May      24,    2012)    (negligence

    claims     against     broker     preempted         by       FAAAA);    Huntington

    Operating     Corp   v.   Sybonney      Express,         Inc.,    No.    H-08-781,


                                            25
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 31 of 39 PageID: 699



    2010    U.S.    Dist.    LEXIS     55591       (S.D.   Tex.,    May    11,       2010)

    (FAAAA preempts negligence claims against freight broker);

    Yellow Transportation, Inc. v. DM Transportation Management

    Services,      No.    Civ.    A.   2:06-c-1517,        2006    US   Dist.        LEXIS

    51231     (E.D.         Pa,        July        14,     2006)        (claims         of

    misrepresentation, unjust enrichment, quantum meruit, and

    fraud by interstate motor carrier against a freight broker

    preempted by FAAAA); Williams v. Midwest Airlines, Inc.,

    321 F. Supp. 2d 993, 995-96 (E.D. Wis. 2004) (passenger’s

    tort claims arising out of airline’s refusal to permit him

    to board were preempted);.                     Also,   in 2013, the Eastern

    District of Virginia considered an issue similar to MDA in

    Sanchez v. Lasership, 937 F. Supp. 2d 730 (E.D. Va. 2013).

    The result here, too, was that the Massachusetts ABC test

    was preempted by FAAAA.

           Courts    in     recent     months      have    continued      to   apply     a

    uniformly       broad     interpretation          of    the    FAAAA       and     ADA

    preemption provisions.             In both Remington, 2015 U.S. Dist.

    LEXIS 13825 and Schwann v. FedEx Ground Package System,

    Inc., No. 11-11094-RGS, 2015 U.S. Dist. LEXIS 13826, at *6,

    24 Wage & Hour Cas. 2d (BNA) 460 (February 5, 2015), the

    District of Massachusetts held that the Massachusetts ABC

    test is preempted.            In December 2014, the First Circuit

    even found as preempted, claims for intentional infliction


                                              26
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 32 of 39 PageID: 700



    of emotional distress, negligent infliction of emotional

    distress, and general negligence against FedEx under the

    ADA.     Tobin v. Federal Express,             775 F.3d 448         (1st Cir.

    2014).      Shortly thereafter, in January 2015, Judge Pisano

    in the District of New Jersey found                  that    a plaintiff’s

    common law negligence claims against a freight broker were

    preempted by FAAAA. Marx Companies L.L.C., 2015 U.S. Dist.

    LEXIS 6432.          Recently, in June         2015, the First Circuit

    reaffirmed prior decisions in Brown and DiFiore, finding

    curb-side baggage carriers’ statutory and common law clams

    pertaining to tips and wages were preempted by the ADA.

    Overka, 790 F.3d 36.

           These cases provide overwhelming support for the view

    that the FAAAA preempts state laws, such as the New Jersey

    ABC test, if they interfere with competitive market forces

    in the industry as to routes, services, or pricing in a way

    that   is    not    remote,    tenuous    or   peripheral.         Here,   the

    impact      is     far    beyond   remote,     tenuous      or    peripheral.

    Indeed, it is real, obvious, and significant.                    As explained

    by the District Court on remand in MDA, “[t]here are a

    myriad of additional costs incurred by a delivery company

    that   depends       upon    employees    as   opposed      to    independent

    contractors.”            Massachusetts    Delivery       Association       v.

    Coakley, 2015 U.S. Dist. LEXIS 88537, at *16 (D. Mass July


                                         27
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 33 of 39 PageID: 701



    8, 2015).      As illustrated by the District Court on remand

    in MDA, if New Jersey law requires AEX to treat the ICs as

    employees, AEX would be required to track the contractors’

    work times to ensure they receive minimum wage and overtime

    payments for all qualifying hours, it would be required to

    issue payroll checks instead of settlement compensation for

    services      rendered.      AEX     would   need      to     withhold    and

    contribute      appropriate     amounts      for     social        security,

    Medicare,     unemployment,    and    income    taxes;       carry   workers

    compensation     insurance    sufficient       to   cover     each   of   the

    contractors.      The plaintiffs in Sleepy’s acknowledged the

    enormous costs that would be imposed on businesses that

    rely on independent contractors found to be misclassified

    as employees, arguing to the Supreme Court of New Jersey

    that, “[f]ederal and state governments suffer significant

    loss     of     revenues      due     to     independent          contractor

    misclassification, in the form of unpaid and uncollectible

    income taxes, payroll taxes, and unemployment insurance and

    workers’      compensation    premiums.”       Brief        for   Plaintiff-

    Appellants at 27, Hargrove v. Sleepy’s, 220 N.J. 289 (2014)

    (No. A-70).

           In addition, AEX would need to determine eligibility

    for, and administer, leaves under the various employment-

    related laws; and navigate the myriad of other issues that


                                         28
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 34 of 39 PageID: 702



    come with a workforce of employees.                  AEX would need to

    provide vehicles to employees, or reimburse employees for

    the use of their own vehicles.             In addition, several cities

    within the state of New Jersey have mandatory sick leave

    policies.     AEX would have to monitor the amount of time

    spent by each of the drivers within the borders of these

    cities   to   determine      which,    if    any,    of     the   laws    were

    triggered, and then provide sick leave in accordance with

    these    specific     requirements.          The     overhead     alone    of

    administering all of these policies will have an obvious

    impact on prices.          Additionally, when the actual costs of

    the many additional burdens and obligations are considered,

    there can be no doubt that the impact on AEX’s prices is

    significant.

          Further,      once    the   individuals        are    classified      as

    “employees”    by    the   company    for    state    law    purposes,     the

    restructured relationship triggers a host of federal laws.

    For instance, under the Affordable Care Act, AEX may be

    required to provide medical benefits to employees.                       AEX’s

    prices would no doubt need to be increased to remain in

    business. The necessary price increases could jeopardize

    AEX’s ability to be competitive in the regional courier

    service market.




                                          29
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 35 of 39 PageID: 703



          Like the impact on rates, the impact on routes                                          or

    services offered by AEX, its shipper-customers and the ICs

    also would be more than “remote, tenuous or peripheral.”

    Currently, AEX has the ability to offer either scheduled or

    on-demand       delivery          services.               As   the     Court        logically

    concluded       on    remand          in    MDA,     if    a       company    has     to    use

    employees to make these deliveries, in order to have on-

    demand delivery services, it will have to pay employees to

    stand-by and wait for such orders.                             Massachusetts Delivery

    Association v. Coakley, 2015 U.S. Dist. LEXIS 88537, at *14

    (D.   Mass      July       8,    2015)        (“If    Xpressman         is     to     satisfy

    requests     for       prompt,             unscheduled         deliveries,          then     it

    logically must retain employees who are on-call and who

    must be compensated for that time, which is different from

    its   current         business             model.”).               Further,     “to        avoid

    increased costs, delivery companies would logically need to

    assign   multiple          delivery          routes       (those      requiring       only     a

    couple     of    hours           to    complete,           for       instance)        to    one

    employee.”           Id.    at    *15.         “[W]hen         a    state     law   directly

    substitutes the state’s own policies for competitive market

    forces, the state law produces precisely the effect the

    preemption clause seeks to avoid: ‘a patchwork of state

    service-determining laws, rules, and regulations.” Tobin,

    775 F.3d a 455.            Where a state law would require defendant


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Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 36 of 39 PageID: 704



    to perform certain services at the expense of alternative

    services, the impact of such a law is not simply “tenuous,

    remote, or peripheral.” Rowe, 552 U.S. at 373.

          By adopting the most restrictive test, New Jersey law

    now makes it more difficult than before (and more difficult

    than under federal law) to utilize bona fide independent

    contractors.       For all the reasons set forth above, the

    logical, potential impact on rates, routes or services will

    no doubt be significant and in any event more than simply

    remote, tenuous and peripheral. Thus, Count I and Count II
                                                                   16
    of Plaintiffs’ Complaint are preempted by FAAAA.

          Additionally,       from a practical standpoint,              the mere

    inconsistency between the standards adopted by different

    states raises potential due process concerns, especially

    when the ABC test presumes employee status, which AEX must

    rebut with affirmative proofs. See, e.g., Vlandis v. Kline,

    412 U.S. 441, 446 (1973) (noting that the Supreme Court has

    repeatedly    held   that    rules   that   “creat[e]     a    presumption

    which   operates     to   deny   a   fair   opportunity       to    rebut   it

    16
       Although not necessary for the instant motion, AEX
    reserves its rights regarding the portion of Count I that
    alleges AEX violated the WHL by making certain deductions.
    This   claim  is   preempted  by   the   Truth in   Leasing
    Regulations, 49 C.F.R. § 376.12, which allows trucking
    companies like AEX the ability to enter into uniform,
    consistent, owner-operator leasing agreements, streamlining
    the contracting and lease administration.


                                         31
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 37 of 39 PageID: 705



    violates      the    due   process      clause”).      AEX    is    essentially

    required to operate with uncertainty and await the exposure

    of     a     legal    challenge,        or     restructure        its    business

    operations to appease whichever state adopts the strictest

    standards regulating a field Congress expressly intended to

    de-regulate.          Preventing        these    issues      is    exactly       the

    purpose of FAAAA.           FAAAA is intended to “enhance [delivery

    companies’] reliance on competitive market forces in order

    to shape their prices, routes, and services                         not at one

    particular moment in time but, rather, in response to the

    protean demands of the market” which “could change at any

    time.” Tobin, 775 F.3d at 456.

           C.    Count III of              Plaintiffs’      Complaint        is     also
           preempted by FAAAA.

         Count    III     of    Plaintiffs’        Complaint     alleges          unjust

    enrichment.          Complaint ¶¶ 38-41.            Plaintiffs’ claims of

    unjust       enrichment     are       likewise    based     on     the    alleged

    misclassification          of   the    ICs.    Plaintiffs    claim       that    AEX

    “improperly classify [Plaintiffs] as contractors by reason

    of using a contract of adhesion which has allowed AEX to

    unjustly enrich itself . . . by requiring [Plaintiffs and

    putative      plaintiffs]       to    have    monies   deducted     from       their

    paychecks which are improper and illegal, and to permit AEX




                                             32
Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 38 of 39 PageID: 706



    to shift numerous business costs over to Plaintiffs and

    members of the class.” Compl. ¶ 39.

          As    a     preliminary      matter,       it   appears      that     even

    Plaintiffs       agree   that    the   classification       of    the     ICs   as

    “employees” under New Jersey state law would put AEX at an

    economic disadvantage.           Stated another way, Plaintiffs’ own

    allegations admit that AEX would need to absorb “numerous

    business costs” if the ICs were reclassified as employees

    under New Jersey law.              These costs surely would impact

    AEX’s rate structures in a way that is more than “remote,

    tenuous,     or    peripheral.”          Furthermore,       for    preemption

    purposes, it makes no difference that the claim here is

    asserted as a common law claim.                  State common law claims

    are considered an “other provision having the force and

    effect of law.” Morales, 504 U.S. at 388. Therefore, common

    law claims are preempted by FAAAA where – as here — they

    have a forbidden effect on the prices, routes, and services

    of the carrier or broker.               See Northwest, 134 S. Ct. 1422

    (2014)     (plaintiff’s        claim   against    airline    for    breach      of

    covenant of good faith and fair dealing preempted by ADA);

    Brown, 720 F. 3d 60 (skycaps’ common law claims against

    airline     relating     to     tips   and   wages    preempted      by    ADA);

    Tobin,     775    F.3d   448    (plaintiff’s     claims     for    intentional

    infliction of emotional distress, negligent infliction of


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Case 2:14-cv-02811-ES-JAD Document 69-1 Filed 08/07/15 Page 39 of 39 PageID: 707



    emotional       distress,       and      general         negligence     preempted     by

    ADA); Marx Companies L.L.C., 2015 U.S. Dist. LEXIS 6432

    (Plaintiff’s         common     law       negligence         claims     preempted     by

    FAAAA); Bower, 731 F. 3d 85 (1st Cir. 2013) (plaintiff’s

    common     law     tort     claims        of     interference       with      custodial

    relations,       negligence        negligent             infliction     of    emotional

    distress, and loss of consortium preempted by the ADA).

           Thus,     for    the    reasons          set      forth   above,      Plaintiffs’

    unjust enrichment claims also cannot withstand the FAAAA

    preemption analysis. 17             Furthermore, even if only Counts I

    and II are preempted, then there could not have been any

    unjust enrichment by AEX, thus making Count III fatally

    flawed as a matter of law.

         IV.   Conclusion

           For     the     foregoing         reasons,          AEX   submits      that   the

    plaintiffs’          entire    Complaint            is     preempted.         Defendant

    respectfully           requests          that       plaintiffs’       Complaint       be

    dismissed, with prejudice.




    4818-1974-9412, v. 22-1974-9412, v. 17




    17
       To the extent Plaintiffs’ unjust enrichment claims are
    based on alleged improper deductions, these claims are also
    preempted by the Truth in Leasing Regulations.


                                                   34
